       Case 4:08-cr-00185-BRW            Document 21        Filed 07/01/08     Page 1 of 4


                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                    4:08-CR-00185-01-WRW

ROBERT JOE COCHRANE (01)
CRYSTAL COCHRANE (02_

                                               ORDER

I. BACKGROUND

       On May 8, 2008, Mr. Robert and his wife, Mrs. Crystal Cochrane, were indicted in a

4-count indictment. Count One charges that defendants, aiding and abetting each other,

knowingly and intentionally possessed with intent to distribute a mixture or substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

USC § 841(a)(1) and 18 U.S.C. § 2. Count Two charges that both defendants, aiding and

abetting each other, in furtherance of a drug trafficking crime for which they may be prosecuted

in a court of the United States, that is, possession with intent to distribute methamphetamine,

knowingly possessed firearms in violation of 18 USC §§ 924(c)(1)(A)(i), and 2. Counts Three

and Four charge Robert Cochrane and Crystal Cochrae, respectively, with being a felon in

possession in violation of 18 U.S.C. § 922(g)(1). There is also a forfeiture allegation.

       Robert and Crystal Cochrane are jointly represented by counsel. The Prosecution filed a

Motion for a Rule 44(c) Hearing, asking the Court to inform the Cochranes about both the

potential for conflict and about their right to separate representation.

       On June 27, 2007, the Court held a Rule 44(c) Hearing, at which Robert and Crystal

Cochrane appeared with their joint counsel. During the hearing, the Prosecution stressed the

potential for conflict when married co-defendants are jointly represented. The Prosecution

pointed out the benefits of cooperating with the prosecuting attorney, and, without making any

                                                  1
        Case 4:08-cr-00185-BRW            Document 21         Filed 07/01/08       Page 2 of 4


allegations about Mr. and Mrs. Cochrane, expressed concern about the potential for emotional

manipulation or physical abuse within the marital relationship.

        I asked Mr. and Mrs. Cochrane, and their counsel, if there was any current conflict that

would make joint representation not in their best interest. All parties denied any conflict. I

informed the Cochranes about the potential for conflict, and I also told Mr. and Mrs. Cochrane

that, as a general rule, I thought separate representation was better.

II. DISCUSSION

        Federal Rule of Criminal Procedure 44(c) provides:

        Whenever two or more defendants . . . are represented by the same retained or
        assigned counsel . . . the court shall promptly inquire with respect to such joint
        representation and shall personally advise each defendant of the right to the effective
        assistance of counsel, including separate representation. Unless it appears that there
        is good cause to believe no conflict of interest is likely to arise, the court shall take
        such measures as may be appropriate to protect each defendant's right to counsel.

        In Parker v. Parratt,1 the Eight Circuit listed several situations that might present a

conflict of interest: (1) where there are markedly different degrees of relative culpability between

defendants; (2) where an attorney obtains confidential information helpful to one defendant but

harmful to another; (3) where the factual circumstances require counsel to offer evidence which

assists one defendant but adversely affects the other; (4) where different defenses are offered;

and (5) where one defendant attempts to exonerate himself by accusing a co-defendant.

        At this early stage in the proceedings, the Cochrane’s testimony at the Hearing did not

indicate a conflict.

        Under the Sixth Amendment, a criminal defendant has the right to the effective assistance

of counsel.2 When there is a conflict of interest, joint representation could violate that Sixth


        1
         662 F.2d 479 (8th Cir. 1981).
        2
         U.S. CONST. amend VI.

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       Case 4:08-cr-00185-BRW               Document 21    Filed 07/01/08     Page 3 of 4


Amendment right. A defendant, however, may waive his right to the assistance of counsel free

from conflict if the defendant’s waiver is knowing, voluntary, and intelligent.3 Before a

defendant can knowingly, voluntarily, and intelligently waive his right, the Court must inform

him of the potential consequences of joint representation. The Eighth Circuit requires that

       [t]he court should address each defendant personally and advise him of the potential
       danger of dual representation. The defendant should have an opportunity and be at
       liberty to question the trial court on the nature and consequences of dual
       representation and the entire procedure should be placed on the record for review.4


       In United States v. Unger, husband and wife co-defendants were jointly represented.5

The Eighth Circuit Court of Appeals found that the wife did not make a knowing and intelligent

waiver.6 The reasoning of the Court was based on the wife never having been explained the

possible effect of joint representation.7

       In United States v. Brekke, husband and wife co-defendants were also jointly

represented.8 The Brekkes argued that they did not knowingly and intelligently waive their right

to conflict-free counsel.9 The Eighth Circuit Court of Appeals found that the lower court fulfilled

its requirements in advising the defendants, and providing the defendants the opportunity to ask




       3
        United States v. Agosto, 675 F.2d 965, 969-70 (8th Cir. 1982).
       4
        United States v. Lawriw, 568 F.2d 98, 104 (8th Cir. 1977).
       5
        700 F.2d 445 (8th Cir. 1983).
       6
        Id. at 454.
       7
        Id.
       8
        152 F.3d 1042 (8th Cir. 1998).
       9
        Id. at 1045.

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        Case 4:08-cr-00185-BRW           Document 21        Filed 07/01/08      Page 4 of 4


questions; the Court concluded that the defendants’ waivers were knowing, voluntary, and

intelligent.10

        The Cochranes were warned about the dangers and joint representation, and were given

the opportunity to ask questions about the possible effects of sharing counsel. The Prosecution

pointed out additional problems that may arise when husband and wife are represented by one

attorney. Throughout the hearing, the Cochranes denied any conflict and expressed their desire

to be jointly represented. I find that the Cochranes knowingly and intelligently waived their right

to conflict-free counsel. Because the Cochranes waived their right, they may proceed at this time

with joint representation.

        I enter this Order with considerable trepidation. My experience as a lawyer and as a judge

teaches me that joint representation is fraught with danger, both for the defendants and their

lawyer. But no conflict is apparent at this time, and the defendants and their counsel assert there

is none.

        Defense counsel is directed to go over this Order line by line with each of his clients,

then advise me and the Prosecution, in writing, if there is any hesitation about going forward

with joint representation. This should be done by 5:00 p.m., Friday, July 11, 2008.

        IT IS SO ORDERED this 1st day of July, 2008.

                                                      /s/ Wm. R. Wilson, Jr.____________
                                                      UNITED STATES DISTRICT JUDGE




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             Id. at 1045-1046.

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